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                   UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF NEW YORK


IN RE GSE BONDS ANTITRUST
                                           Case No. 1:19-cv-01704 (JSR)
LITIGATION



    PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR
     PRELIMINARY APPROVAL OF STIPULATION AND AGREEMENT OF
           SETTLEMENT WITH GOLDMAN SACHS & CO. LLC
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                                        INTRODUCTION

       If approved, the Goldman Sachs Settlement1 will create a Settlement Fund of $20 million

(plus interest earned between preliminary approval and distribution), obligate Goldman Sachs to

continue providing cooperation to Plaintiffs as they pursue their claims against non-settling

defendants, and establish and maintain GSE market-specific antitrust compliance reforms.

Based on Co-Lead Counsel’s experience and assessment of the claims and defenses at issue in

this Action, Co-Lead Counsel believe that the Settlement is in the best interests of the Settlement

Class. See Maley v. Del Glob. Techs. Corp., 186 F. Supp. 2d 358, 366 (S.D.N.Y. 2002) (stating

that ‘“great weight’ is accorded to the recommendations of counsel, who are most closely

acquainted with the facts of the underlying litigation”).2 Plaintiffs also support the Settlement.

                               PROCEDURAL BACKGROUND

       Following consolidation and appointment of Co-Lead Counsel, on May 23, 2019,

Plaintiffs filed the First Amended Complaint, which included allegations based on cooperation

materials provided by Deutsche Bank pursuant to the Antitrust Criminal Penalty Enhancement

and Reform Act of 2004 (“ACPERA”),3 but did not name Deutsche Bank as a defendant. The

cooperation materials from Deutsche Bank included, among other things, four transcripts of chat

room conversations between traders acting on behalf of Goldman Sachs, Deutsche Bank, BNP

Paribas, Morgan Stanley, and Merrill Lynch. Plaintiffs included allegations about these four chat



1
        Unless otherwise defined herein, all capitalized terms have the same meaning as set out
in the Stipulation and Agreement of Settlement with Goldman Sachs & Co. LLC (“Stipulation”
or “Stip.”), attached as Ex. 1 to the Declaration of Christopher M. Burke (“Burke Decl.”), filed
concurrently herewith.
2
       Unless otherwise noted, citations are omitted and emphasis is added.
3
       Pub. L. No. 108-237, §213(a)-(b), 118 Stat. 661, 666-668 (June 22, 2004), as amended by
Pub. L. No. 111-190, 124 Stat. 1275 (June 9, 2010), codified as amended at 15 U.S.C. §1 note.



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room conversations in the First Amended Complaint. On July 12, 2019, Plaintiffs filed the

Second Amended Complaint in order to name Deutsche Bank as a defendant, but the Second

Amended Complaint was otherwise identical to the First Amended Complaint.

       On June 13, 2019, Defendants jointly moved to dismiss pursuant to Rule 12(b)(6) for

failure to state a claim upon which relief can be granted. The Court heard argument on the

motion on July 23, 2019. On September 3, 2018, the Court granted in part, and denied in part,

Defendants’ motion to dismiss. ECF No. 253 (“GSE Bonds I”). The motion was denied as to

Goldman Sachs, Deutsche Bank, BNP Paribas, Morgan Stanley, and Merrill Lynch, as to which

Plaintiffs had alleged evidence from chat rooms showing traders agreeing to fix the price at

which to sell GSE Bonds in the secondary market. GSE Bonds I, at 11-12. The Court granted

the motion as to Barclays, Citigroup, Credit Suisse, FTN, UBS, JPMorgan, HSBC, Nomura, TD

Securities, Cantor Fitzgerald, and SG Americas, as to which the Second Amended Complaint did

not allege specific chat room conversations. Id., at 17. The Court’s GSE Bonds I order was

without prejudice to Plaintiffs seeking to rejoin the dismissed defendants in a Third Amended

Complaint.

       On September 10, 2019, Plaintiffs filed a Third Amended Complaint, which was largely

identical to the Second Amended Complaint, but added 19 chat room conversations that were

substantially similar in kind to the four chat room conversations previously alleged, showing

traders employed by the dismissed defendants agreeing to fix the price at which to sell GSE

Bonds in the secondary market. ECF No. 288, at 4. (“GSE Bonds II”).

       On September 17, 2019, Barclays, Citigroup, Credit Suisse, UBS, JPMorgan, HSBC,

Nomura, TD Securities, Cantor Fitzgerald, and SG Americas jointly moved to dismiss the Third

Amended Complaint pursuant to Rule 12(b)(6). Plaintiffs had signed a settlement agreement




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with FTN on September 16, 2019, so FTN did not join the motion. The Court heard argument on

September 27, 2019. On October 15, 2019, the Court denied the motion to dismiss the Third

Amended Complaint. ECF No. 288.

       The Goldman Sachs Settlement is the third settlement Plaintiffs have submitted in this

Action. On September 11, 2019, Plaintiffs filed a motion for preliminary approval of a $15

million settlement with Deutsche Bank. On September 24, 2019, Plaintiffs filed a motion for

preliminary approval of a $14.5 million settlement with FTN. The Court heard argument on both

motions on October 11, 2019. On October 29, 2019, the Court preliminarily approved the

Deutsche Bank and FTN settlements (ECF No. 296) and elaborated on the reasons for granting

preliminary approval in an Opinion and Order dated November 7, 2019. ECF No. 298 (“GSE

Bonds III”).

                                    LEGAL STANDARD

       Rule 23(e) requires judicial approval of a proposed class action settlement. Fed. R. Civ.

P. 23(e)(2). “A class action settlement approval procedure typically occurs in two stages:

(1) preliminary approval, where ‘prior to notice to the class a court makes a preliminary

evaluation of fairness,” and (2) final approval, where ‘notice of a hearing is given to the class

members, [and] class members and settling parties are provided the opportunity to be heard on

the question of final court approval.’” GSE Bonds III, at 2 (quoting In re Payment Card

Interchange Fee and Merchant Discount Antitrust Litig., 330 F.R.D. 11, 28 (S.D.N.Y. 2019)).

“The judicial role in reviewing a proposed settlement is demanding,” even at the preliminary

approval stage. Payment Card, 330 F.R.D. at 27; GSE Bonds III, at 2. Under Rule 23(e), which

was amended on December 1, 2018, in determining whether to grant preliminary approval, the

Court must determine whether “giving notice is justified by the parties’ showing that the court




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will likely be able to: (i) approve the proposal under Rule 23(e)(2); and (ii) certify the class for

purposes of judgment on the proposal.” Fed. R. Civ. P. 23(e)(1)(B)(i-ii); GSE Bonds III, at 3.

                                           ARGUMENT

I.     THE COURT IS LIKELY TO GRANT FINAL APPROVAL TO THE PROPOSED
       SETTLEMENT

       “To be likely to approve a proposed settlement under Rule 23(e)(2), the Court must find

‘that it is fair, reasonable, and adequate.’” GSE Bonds III, at 3. Rule 23(e)(2) “enumerates four

factors for the Court to consider as part of this inquiry:         (1) adequacy of representation,

(2) existence of arm’s-length negotiations, (3) adequacy of relief, and (4) equitableness of

treatment of class members.” Id; see also Fed. R. Civ. P. 23(e)(2)(A-D). These four Rule

23(e)(2) factors were intended to “supplement rather than displace” the nine “Grinnell” factors4

that courts in the Second Circuit consider when determining whether a settlement is fair,

reasonable, and adequate. GSE Bonds III, at 3; Payment Card, 330 F.R.D. at 29; 2018 Advisory

Committee Notes to Fed. R. Civ. P. 23, Subdiv. (e)(2) (“2018 Advisory Note”). Accordingly, in

preliminarily approving the Deutsche Bank and FTN settlements, the Court considered both sets

of factors, noting their overlap.     GSE Bonds III, at 4.       Plaintiffs respectfully submit that

application of the same factors to the Goldman Sachs Settlement demonstrates that the Court

should grant preliminary approval.


4
        The Grinnell factors are: (1) the complexity, expense and likely duration of the litigation,
(2) the reaction of the class to the settlement, (3) the stage of the proceedings and the amount of
discovery completed, (4) the risks of establishing liability, (5) the risks of establishing damages,
(6) the risks of maintaining the class action through the trial, (7) the ability of the defendants to
withstand a greater judgment, (8) the range of reasonableness of the settlement fund in light of
the best possible recovery, and (9) the range of reasonableness of the settlement fund to a
possible recovery in light of all the attendant risks of litigation. City of Detroit v. Grinnell Corp.,
495 F.2d 448, 463 (2d Cir. 1974), abrogated on other grounds by Goldberger v. Integrated Res.,
Inc., 209 F.3d 43 (2d Cir. 2000).



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               Rule 23(e)(2)(A)’s Adequacy of Representation Prong Weighs in Favor of
               Preliminary Approval

       “Rule 23(e)(2)(A) requires a Court to find that ‘the class representatives and class

counsel have adequately represented the class’ before preliminarily approving a settlement.”

GSE Bonds III, at 4. This determination “typically ‘entails inquiry as to whether: (1) plaintiff’s

interests are antagonistic to the interest of other members of the class and (2) plaintiff’s attorneys

are qualified, experienced and able to conduct the litigation.’” Id. (quoting Cordes & Co. Fin.

Servs. v. A.G. Edwards & Sons, Inc., 502 F.3d 91, 99 (2d Cir. 2007)).

       As the Court previously found, “[P]laintiffs’ interests are aligned with other class

members’ interests because they suffered the same injuries – monetary losses resulting from

GSE bond transactions with settling defendants.” Id., at 4. Accordingly, Plaintiffs have “an

‘interest in vigorously pursuing the claims of the class.’” Id. (quoting Denney v. Deutsche Bank

AG, 443 F.3d 253, 268 (2d Cir. 2006)). Further, “Co-Lead Counsel have demonstrated that they

are qualified, experienced, and able to conduct the litigation.” Id.; see also Burke Decl., Ex. 2,

¶6 (mediator’s declaration stating that the settling parties “were represented by sophisticated and

capable counsel who displayed the highest level of professionalism”). This factor thus weighs in

favor of preliminary approval.

               Rule 23(e)(2)(B)’s Arm’s-Length Negotiations Prong Weighs in Favor of
               Preliminary Approval

       Rule 23(e)(2)(B) requires the Court to examine whether “the proposal was negotiated at

arm’s length.” “If a class settlement is reached through arm’s-length negotiations between

experienced, capable counsel knowledgeable in complex class litigation, ‘the Settlement will

enjoy a presumption of fairness.’” GSE Bonds III, at 5 (quoting In re Austrian & German Bank

Holocaust Litig., 80 F. Supp. 2d 164, 173-74 (S.D.N.Y. 2000), aff’d sub nom., D’Amato v.

Deutsche Bank, 236 F. 3d 78 (2d Cir. 2001)). Further, “a mediator’s involvement in settlement


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negotiations can help demonstrate their fairness.” Id.; Payment Card, 330 F.R.D. at 95. Here,

the settling parties engaged in mediation before Jed D. Melnick, Esq., who confirms that the

“negotiation process was bona fide and, at times extremely contentious,” with sophisticated and

capable counsel advocating for their respective clients.5 Burke Decl., Ex. 2, ¶6. This factor thus

weighs in favor of preliminary approval.

               Rule 23(e)(2)(C)’s Adequacy of Relief Prong Weighs in Favor of Preliminary
               Approval

       Rule 23(e)(2)(C) requires the court to examine whether the “relief for the class is

adequate, taking into account:      (i) the costs, risks, and delay of trial and appeal; (ii) the

effectiveness of any proposed method of distributing relief to the class, including the method of

processing class-member claims; (iii) the terms of any proposed award of attorney’s fees,

including timing of payment; and (iv) any agreement required to be identified under Rule

23(e)(3).” GSE Bonds III, at 5-6.

                       Costs, Risks, and Delay of Trial and Appeal

       This factor overlaps significantly with Grinnell factors 1, 4, 5, and 6 (see n.4, supra),

which “help guide the Court’s application of Rule 23(e)(2)(C)(i).” GSE Bonds III, at 6; Payment

Card, 330 F.R.D. at 36.

       The first overlapping Grinnell factor is the “complexity, expense and likely duration of

the litigation.” Grinnell, 495 F.2d at 463. “Courts favor settlement when litigation is likely to be

complex, expensive, or drawn out.” GSE Bonds III, at 6. Numerous courts have recognized that

“[f]ederal antitrust cases are complicated, lengthy, and bitterly fought.” Wal-Mart Stores, Inc. v.

Visa U.S.A., Inc., 396 F.3d 96, 118 (2d Cir. 2005); see also In re Vitamin C Antitrust Litig., No.

5
      Plaintiffs will not seek payment of the mediator’s fees from the Settlement Fund. See
GSE Bonds III, at 12-13.



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06-MD-1738 (BMC), 2012 WL 5289514, at *4 (E.D.N.Y. Oct. 23, 2012) (noting that ‘“[f]ederal

antitrust cases are complicated, lengthy . . . bitterly fought,’ as well as costly”). As the Court has

recognized, “[t]his antitrust case is not likely to be different.” GSE Bonds III, at 7 (noting that

the case involves “numerous defendants and complex issues of fact and law related to the sale of

GSE bonds at different points in time”). Indeed, this Action has already raised complex issues of

law and fact, and it has only just proceeded beyond the pleading stage. For example, in their

motions to dismiss, Defendants argued that Plaintiffs failed to allege a plausible conspiracy to fix

prices of GSE Bond Transactions in the secondary market. They also challenged the sufficiency

of the allegations to implicate any one of them in the alleged price-fixing conspiracy, as well as

the reliability of Plaintiffs’ economic evidence of the conspiracy. Even at the pleading stage,

resolution of these issues was complex, involving interpretation of 23 chat room transcripts and

the results of three statistical models.

        Complex issues of law and fact will also be raised at the class certification stage, and as

the Court pointed out, “[i]nterlocutory appeals may arise after the Court’s class certification

decision, generating lengthy delays.”      GSE Bonds III, at 7; see also In re Payment Card

Interchange Fee & Merch. Disc. Antitrust Litig., 986 F. Supp. 2d 207, 212 n.13 (E.D.N.Y. 2013),

reversed and vacated on other grounds, 827 F.3d 223 (2d Cir. 2016) (noting that “[i]n the Wal-

Mart case, twenty months elapsed between the order certifying the class and the Second Circuit’s

divided opinion affirming that decision”).

        Further, “[t]here is little reason to believe that this complexity will abate if the case were

to proceed through to summary judgment and trial.” In re LIBOR-Based Fin. Instruments

Antitrust Litig., 327 F.R.D. 483, 493 (S.D.N.Y. 2018) (“LIBOR”). The trial of this action after

completion of discovery is likely to be lengthy, and even if Plaintiffs “‘prevail[ed] at trial, post-




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trial motions and the potential for appeal could prevent class members from obtaining any

recovery for several years, if at all.’” GSE Bonds III, at 7; see also Payment Card, 986 F. Supp.

2d at 212 (stating that “[t]he losing parties would likely appeal any adverse jury verdicts, thereby

extending the duration of litigation”).

       Three other related Grinnell factors – the risks of establishing liability, establishing

damages, and maintaining the action as a class through trial – also weigh in favor of preliminary

approval. To assess these factors, a court “‘should balance the benefits afforded the Class,

including the immediacy and certainty of a recovery, against the continuing risks of litigation.’”

GSE Bonds III, at 7 (quoting Payment Card, 986 F. Supp. 2d at 224). “[E]ach of these facets of

trial poses substantial risks to this action.” LIBOR, 327 F.R.D. at 494.

       “First as to liability, establishing the existence and extent of a conspiracy will necessarily

be a complex task, and many of the hurdles that plaintiffs have overcome at the pleading stage

will raise substantially more difficult issues at the proof stage.” Id. At the pleading stage, for

example, “so long as the allegations are plausible, plaintiff’s burden has been met.” GSE Bonds

I, at 11. “To survive dismissal, the plaintiff need not show that its allegations suggesting an

agreement are more likely than not true or that they rule out the possibly of independent action,

as would be required at later litigation stages such as a defense motion for summary judgment, or

trial.’” Id. (quoting Gelboim v. Bank of America Corp., 823 F.3d 759, 781 (2d Cir. 2016)). As

the Court has noted, “multiple remaining defendants contend that they can present a strong case

against plaintiffs after discovery.” GSE Bonds III, at 7-8.6 Defendants, no doubt, will continue



6
         See also GSE Bonds I, at 15 (stating that “the pricing trends and their relationship to the
dates of these chats is a factual question ill-suited for resolution at this early stage”); GSE Bonds
II, at 5 n.2 (noting that Defendants contend that “on a more developed factual record they will be
able to show that they have engaged in no wrongdoing”); GSE Bonds II, at 7 (noting that



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to vigorously contest all liability elements of Plaintiffs’ claims beyond the pleading stage, and

“there is no guarantee that plaintiffs will be able to prove liability.” GSE Bonds III, at 8.

       If liability is established, Plaintiffs will face the difficulties of proving damages in an

antitrust case. Id. At summary judgment, Plaintiffs’ damages models are likely to be challenged

and subject to Daubert motions. See LIBOR, 327 F.R.D. at 494 (stating that the plaintiffs’

damages models will “unquestionably be challenged and perhaps subject to further Daubert

motions”). At trial, there is no doubt that proof of damages will involve a “battle of the experts.”

In re Nasdaq Mkt.-Makers Antitrust Litig., 187 F.R.D. 465, 476 (S.D.N.Y. 1998). “In this ‘battle

of experts,’ it is virtually impossible to predict with any certainty which testimony would be

credited, and ultimately, which damages would be found . . . .” In re Warner Commc’ns Sec.

Litig., 618 F. Supp. 735, 744-45 (S.D.N.Y. 1985). Thus, there is a substantial risk that a jury

might accept one or more of Defendants’ damages arguments, or award far less than the

Settlement Amount, or nothing at all. “As the Second Circuit has noted, ‘the history of antitrust

litigation is replete with cases in which antitrust plaintiffs succeeded at trial on liability, but

recovered no damages, or only negligible damages, at trial, or on appeal.’” GSE Bonds III, at 8

(quoting Wal-Mart Stores, 396 F.3d at 118).

       “Although the ‘risk of maintaining a class through trial is present in [every] class action,’

‘this factor [nevertheless] weighs in favor of settlement’ where ‘it is likely that defendants would

oppose class certification’ if the case were to be litigated.” GSE Bonds III, at 8. Plaintiffs

believe they will ultimately persuade the Court to certify a litigation class, but Defendants will

advance substantial arguments in opposition. See id., at 9. “This suggests that the maintenance

“Citigroup offers a plausible interpretation of the August 22, 2012 chat,” but at the pleading
stage, “the Court may not ‘choose between two plausible inference that may be drawn from
factual allegations’).



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of the class would not be guaranteed if the settling defendants went to trial.” Id.; LIBOR, 327

F.R.D. at 494 (noting that even if a class is certified, “‘subsequent developments in the case

[that] call into question [the plaintiffs’] allegations’ . . . could warrant modification or

decertification of the class”).

        The Rule 23(e)(2)(C)(i) factor and overlapping Grinnell factors that guide the Court’s

analysis thus weigh in favor of preliminary approval.

                        The Effectiveness of Any Proposed Method of Distributing Relief

        “Rule 23(e)(2)(C)(ii) requires courts to examine ‘the effectiveness of any proposed

method of distributing relief to the class, including the method of processing class-member

claims.’” GSE Bonds III, at 9 (quoting Fed. R. Civ. P. 23(e)(2)(C)(ii)). Further, a “‘claims

processing method should deter or defeat unjustified claims, but the court should be alert to

whether the claims process is unduly demanding.’” Id. (quoting 2018 Advisory Note). A plan of

distribution “‘must be fair and adequate,’” but “it ‘need only have a reasonable, rational basis,

particularly if recommended by experienced and competent class counsel.’” GSE Bonds III, at 9.

For these reasons, a plan of distribution “‘need not be perfect’” in order to be approved. Id., at 9-

10 (quoting In re EVCI Career Colleges Holding Corp. Sec. Litig., No. 05-CV-10240, 2007 WL

2230177, at *11 (S.D.N.Y. July 27, 2007) (collecting cases)).

        Plaintiffs propose to employ the Plan of Distribution that the Court preliminarily

approved in connection with the Deutsche Bank and FTN settlements. GSE Bonds III, at 10-11.

In summary, the Plan of Distribution would allocate the Settlement Fund based on a calculation

that accounts for risk level, maturity, and volume of GSE Bond Transactions by each Claimant.

The Plan categorizes GSE Bonds into 31 categories based on the remaining years until maturity

when purchased or sold, and a multiplier is assigned based on those categories. The multipliers

increase as the time until maturity increases. To illustrate, assume the impact of the challenged


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conduct is 1 basis point of yield. The damage resulting from a 1 basis point change in yield

grows with maturity such that a bond with 30 years until maturity receives a higher multiplier

than a bond with less than one year until maturity.

       The Claims Administrator would multiply each claimant’s GSE Bond Transaction

volume for each of the 31 categories by the assigned multiplier, resulting in a transaction claim

amount. Payments would be calculated based on each individual claimant’s transaction claim

amount divided by the total of all transaction claim amounts. In consultation with Co-Lead

Counsel, the Claims Administrator would implement a minimum payment. Co-Lead Counsel

clarify that they do not intend to block any valid claims from being paid, see GSE Bonds III, at

11, but rather, propose to set a minimum payment of between $10 to $25 so that all valid claims

would receive at least the minimum. In re Nasdaq Mkt.-Makers Antitrust Litig., No. 94 CIV.

3996 RWS, 2000 WL 37992, at *2 (S.D.N.Y. Jan. 18, 2000) (approving $25 minimum payment

as a reasonable means of compensating class members with relatively small claims and noting

that the “$25 floor will not cause reallocation of more than 1% to 2% of the Settlement Fund”);

In re Initial Pub. Offering Sec. Litig., 671 F. Supp. 2d 467, 497-98 (S.D.N.Y. 2009) (approving

$10 minimum payment “no matter how small [the] Recognized Claim” as reasonable to “enable

class members with relatively small claims to participate meaningfully”).         The minimum

payment here would allow meaningful participation in the Settlement Fund by all claimants

submitting valid claims and would avoid a situation in which the cost of issuing a payment

exceeds the amount of the payment. A minimum payment would also allow smaller claims to be

processed more efficiently, as Co-Lead Counsel anticipates fewer inquiries and challenges on

claims that are brought up to the minimum payment level.




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       Because “[t]he Plan of Distribution represents a reasonable method of ensuring ‘the

equitable and timely distribution of a settlement fund without burdening the process in a way that

will unduly waste the fund,” this factor weighs in favor of preliminary approval. GSE Bonds III,

at 10-11.

                       The Terms of Any Proposed Award of Attorneys’ Fees

       “Rule 23(e)(2)(C)(iii) requires courts to examine ‘the terms of any proposed award of

attorneys’ fees, including timing of payment.’”         Id. at 11 (quoting Fed. R. Civ. P.

23(e)(2)(C)(iii)). Co-Lead Counsel will apply for an award of attorney’s fees of $4,400,000,

which is 22% of the Settlement Fund, plus payment of Litigation Expenses, and for interest on

such attorneys’ fees and Litigation Expenses at the same rate as the earnings in the Settlement

Fund. Subject to Court approval, half of the fees would be paid upon final approval of the

Settlement, and the other half will be paid when distribution of the proceeds to Claimants has

been very substantially completed. Stip., ¶27.

       The Court previously found Co-Lead Counsel’s proposed award of attorneys’ fees did not

“weigh against preliminary approval of the settlements,” noting that “[c]ourts in this District

have approved fees as high as 33.5% from comparable class settlement funds.” GSE Bonds III,

at 12 (citing In re DDAPV Direct Purchaser Antitrust Litig., No. 05-2237, 2011 WL 12627961

(S.D.N.Y. Nov. 28, 2011) (33.5% from $20.25 million class settlement) and In re Oxycontin

Antitrust Litig., No. 04-md-1603-SHS, ECF No. 360 (S.D.N.Y. Jan. 25, 2011) (33.5% from $16

million class settlement)).7


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        When deciding attorneys’ fees based on multiple rounds of settlement submissions in a
single case, some courts have considered as one factor the cumulative lodestar, total amount of
settlements, and total amount of attorneys’ fees across the entire case. See, e.g., In re LIBOR-
Based Fin. Instruments Antitrust Litig., No. 11 Civ. 5450, 2018 WL 3863445, at *4 (S.D.N.Y.
Aug. 14, 2018) (Buchwald, J.); Precision Assoc., Inc. v. Panalpina World Transport (Holdings)



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                       Any Agreement Required to Be Identified Under Rule 23(e)(3)

       “Rule 23(e)(2)(C)(iv) requires courts to consider ‘any agreement required to be identified

by Rule 23(e)(3),’ that is, ‘any agreement made in connection with the proposal.’” GSE Bonds

III, at 13 (quoting Fed. R. Civ. P. 23(e)(2)(C)(iv) and 23(e)(3)).

       The sole agreement required to be disclosed under Rule 23(e)(3) is the “Supplemental

Agreement,” which provides Goldman Sachs with the qualified right to withdraw or terminate

the Settlement upon the occurrence of certain conditions. Stip., ¶¶44-45. This qualified right

arises if potential Settlement Class Members who meet certain criteria exclude themselves from

the Settlement Class. Id. The Goldman Sachs Supplemental Agreement is substantially similar

to the FTN Supplemental Agreement. Upon reviewing the FTN Supplemental Agreement, the

Court found “it has no bearing on the preliminary approval analysis.” GSE Bonds III, at 13. As

with the prior agreement, the Parties request that the Goldman Sachs Supplemental Agreement

be allowed to remain confidential, as “knowledge of the specific number of opt outs that will

vitiate a settlement might encourage third parties to solicit class members to opt out.” MANUAL


Ltd., No. 08-cv-42, 2015 WL 6964973 (E.D.N.Y. Nov. 10, 2015) (Gleeson, J.); In re Urethane
Antitrust Litig., No. 04 Civ. 1616, 2016 WL 4060156, at *7-*8 (D. Kan. July 29, 2016). Co-
Lead Counsel are seeking in fees 22% of the $29.5 million recovery from the Deutsche Bank and
FTN settlements, and 22% of the $20 million recovery from the Goldman Sachs Settlement.
Cumulatively, this would be 22% of a $49.5 million recovery, totaling $10,890,000. Courts in
this District have approved similar fee awards in comparable cases. See, e.g., Sullivan v.
Barclays PLC, No. 13-cv-02811-PKC, 2018 WL 6299918, at *1 (S.D.N.Y. May 18, 2018)
(awarding 22.24% attorneys’ fees from $68.71 million settlement fund in antitrust case); In re
Med. X-Ray Film Antitrust Litig., No. CV-93-5904, 1998 WL 661515, at *8 (E.D.N.Y. Aug. 7,
1998) (awarding 33 1/3% attorneys’ fees from $39.36 million settlement fund in antitrust case);
see also Brian T. Fitzpatrick, An Empirical Study of Class Action Settlements and Their Fee
Awards, 7 J. EMPIRICAL LEGAL STUD. 811, tbl. 10 (2010) (finding mean fee of 22.3% and median
fee of 24.9% (with a standard deviation of 8.4%) for recoveries between $30 million and $72.5
million); Theodore Eisenberg & Geoffrey P. Miller, Attorney Fees and Expenses in Class Action
Settlements: 1993-2008, 7 J. EMPIRICAL LEGAL STUD. 248, tbl. 7 (2010) (finding mean fee of
20.5% and median fee of 24.9% (with a standard deviation of 8.7%) for recoveries between
$38.3 million and $69.6 million).



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FOR   COMPLEX LITIGATION (4th) §21.631; see also Fed. R. Civ. P. 23(e), 2003 Advisory

Committee Note, Subdiv. (e).

               The Remaining Grinnell Adequacy Factors Weigh in Favor of Preliminary
               Approval

                       Goldman Sachs’ Ability to Withstand a Greater Judgment

        There is no doubt that as a globally prominent financial institution, Goldman Sachs could

withstand a greater judgment, but “‘fairness does not require that the [defendant] empty its

coffers before this Court will approve a settlement.’” LIBOR, 327 F.R.D. at 494. The Court

previously found that this factor, standing alone, is not enough to require disapproval at this

stage. GSE Bonds III, at 14 (noting that “[s]ome courts have held . . . that ‘in any class action

against a large corporation, the defendant entity is likely to be able to withstand a more

substantial judgment, and, against the weight of the remaining factors, this fact alone does not

undermine the reasonableness of the instant settlement’”); see also LIBOR, 327 F.R.D. at 495

(stating that “this factor is intended to ‘strongly favor settlement’ when ‘there is a risk that an

insolvent defendant could not withstand a greater judgment’ but that ‘the ability of defendants to

pay more, on its own, does not render the settlement unfair’”). In addition, as discussed below,

the benefit provided by Goldman Sachs’ cooperation, which began prior to execution of the

Stipulation, “tends to offset the fact that [it] would be able to withstand a larger judgment.” In re

Pressure Sensitive Labelstock Antitrust Litig., 584 F. Supp. 2d 697, 702 (M.D. Pa. 2008).

                       The Range of Reasonableness of the Settlement Fund in Light of the
                       Best Possible Recovery and Attendant Risks of Litigation

        Courts often consider these two Grinnell factors together. GSE Bonds III, at 14; Payment

Card, 330 F.R.D. at 47-48. In considering these factors, ‘“the settlement amount’s ratio to the

maximum potential recovery need not be the sole, or even the dominant, consideration when

assessing the settlement’s fairness.”’ LIBOR, 327 F.R.D. at 495 (approving settlements where


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the plaintiffs did not even provide a damages estimate); see also Payment Card, 330 F.R.D. at 49

n.46 (recognizing that “it may be a difficult figure to generate, and, ultimately, this information,

while helpful in assessing this factor, is not absolutely necessary” and citing cases). This is

because, as the Court has recognized, “some risks would be attendant upon continuing to

litigate.” GSE Bonds III, at 15. Accordingly, the analysis of these factors takes into account “the

uncertainties of law and fact in any particular case and the concomitant risks and costs

necessarily inherent in taking any litigation to completion.” Wal-Mart, 396 F.3d at 119. As the

Second Circuit has explained, “[t]he fact that a proposed settlement may only amount to a

fraction of the potential recovery does not, in and of itself, mean that the proposed settlement is

grossly inadequate and should be disapproved.” Grinnell, 495 F.2d at 455.

       Here, Plaintiffs respectfully submit that the monetary relief obtained for the Settlement

Class should be viewed through the context of the broader protection that this Settlement

provides. Settlement Class Members, including those members that are limited to dealing in

high-credit government securities due to statutory or other constraints, need to have confidence

that the GSE Bond market is free from collusion. While it is perhaps a departure from the

typical adequacy analysis to consider non-monetary relief the Settlement provides, in this case,

the compliance measures agreed to by Goldman Sachs in the Settlement were a key concern of

Plaintiffs. The compliance measures ensure that any monetary relief will not be simply a cost of

doing business but lead to real reform in the GSE Bond market and long-term relief for the GSE

Bond market participants.

       Plaintiffs and Goldman Sachs discussed that an antitrust compliance program with

respect to the GSE Bond market must contain certain elements in its design to effectively prevent

and detect anticompetitive conduct, including; (i) rigorous compliance training; (ii) a culture of




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compliance; (iii) strong oversight; (iv) dedication of corporate resources; and (v) robust gap

assessment.    Stip., ¶18.    These factors are consistent with the Antitrust Division's public

guidance document that outlines what its prosecutors look for when evaluating antitrust

compliance programs.8        Goldman Sachs represents that it currently maintains an antitrust

compliance program that incorporates these principles, and agrees to maintain a substantially

similar compliance program adhering to these principles so long as it is engaged in the GSE

Bond Market. Id., ¶19. In addition, for 24 months following the execution of the Stipulation or

until this Action is fully and finally adjudicated, whichever is later, unless it is no longer engaged

in GSE Bond Transactions, Goldman Sachs agrees to, on a semi-annual basis: (i) confirm to

Plaintiffs and a representative of Pennsylvania Treasury that Goldman Sachs continues to

maintain an antitrust compliance program designed to detect and prevent anticompetitive

conduct in the GSE Bond Market; and (ii) confer with Plaintiffs to consider and evaluate

antitrust compliance best practices in the GSE Bond Market.            Id.   Plaintiffs believe these

measures are necessary to prevent and detect future anticompetitive conduct in the GSE Bond

market and indispensable to restoring market integrity. The Court previously found similar

compliance remediation measures provided value that weighed in favor of preliminarily

approving settlement. GSE Bonds III, at 16.

       In light of the compliance measures agreed to in the Settlement, Plaintiffs respectfully

submit that the monetary relief provided to the Settlement Class is within the range of

reasonableness. Plaintiffs developed a preliminary damages model that estimated a range of

class wide single damages potentially recoverable at trial of between $857 million and $1.68

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        U.S. Dep’t Justice Antitrust Div., Evaluation of Corporate Compliance Programs in
Criminal Antitrust Investigations (July 2019) at 3-4, https://www.justice.gov/atr/page/
file/1182001/download.



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billion. If Plaintiffs were to succeed at trial, this figure would be subject to automatic trebling

pursuant to 15 U.S.C. §15(a). GSE Bonds III, at 18. Accordingly, Plaintiffs’ treble damages

estimate is $2.571 billion to $5.04 billion. There are, of course, many steps remaining between

here and a verdict, and Plaintiffs therefore emphasize that these are estimated figures. Actual

recovery at trial, if any, would be subject to the risks outlined above and many others.

       Given Goldman Sachs’ market share of 3.65% (Third Amended Complaint, ECF No.

254, ¶135 (Table 1)), the $20 million Settlement Amount therefore represents 32.6% to 63.9% of

Goldman Sachs’ proportionate share of the preliminary single damages estimate ($31,280,500 to

$61,320,000) and 10.9% to 21.3% of the potential trebled recovery ($93,841,500 to

$183,960,000). While Plaintiffs acknowledge that the Court has held that the best possible

recovery figures should be based on treble damages, GSE Bonds III, at 18, because the majority

of antitrust cases use a single damages comparison for evaluating settlements, Plaintiffs provide

both the single and treble figures for ease of comparison to other antitrust cases.9

       The estimated 10.9% to 21.3% recovery of estimated treble damages from Goldman

Sachs compares favorably to recoveries in other antitrust cases, given the risks outlined above.

See, e.g., GSE Bonds III, at 15 (holding that 13% to 17% recovery along with cooperation under

the Deutsche Bank settlement “appears reasonable”); Rodriguez v. W. Publ’g Corp., 563 F.3d

948, 965 (9th Cir. 2009) (approving settlement where “[e]ven considering the trebling effect, the

settlement amount represents approximately ten percent of the class’s estimate of its own trebled


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       See Grinnell Corp., 495 F.2d at 458-59 (stating that “the vast majority of courts which
have approved settlements in [antitrust cases], even though they may have not explicitly
addressed the issue, have given their approval to settlement which are traditionally based on an
estimate of single damages only”); see also In re Warfarin Sodium Antitrust Litig., 212 F.R.D.
231, 257–58 (D. Del. 2002), aff’d, 391 F.3d 516 (3d Cir. 2004) (citing cases using single
damages estimates).



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damages”); Currency Conversion, 2006 WL 3247396, at *6 (preliminarily approving settlements

“representing roughly 10-15% of the credit transaction fees collected by Defendants”); Payment

Card, 330 F.R.D. at 49 (stating that the Second Circuit did not take issue with original settlement

recovery of “2.5% of the largest possible estimate of actual damage to merchants,” which was

based on single damages); Grinnell Corp., 495 F.2d at 455 n.2 (stating that “there is no reason, at

least in theory, why a satisfactory settlement could not amount to a hundredth or even a

thousandth part of a single percent of the potential recovery”). Further, the Settlement does not

alter the maximum recoverable damages if Plaintiffs prevail at trial against the non-settling

defendants (after an offset post-trebling for recoveries from the settlements), which remain

jointly and severally liable for all damages caused by the conspiracy. In re Cathode Ray Tube

(Crt) Antitrust Litig., No. 14-cv-2058, 2015 WL 9266493, at *6 (N.D. Cal. Dec. 17, 2015)

(noting the right to seek entire damages from non-settling defendants “provides increased value .

. . by creating added incentive for the remaining defendants to settle or allowing greater recovery

for the Plaintiffs at trial”).

        In addition, the Settlement delivers Goldman Sachs’ cooperation to Plaintiffs in pursuing

their claims against non-settling defendants, including the production of data and documents,

deposition and trial testimony, evidentiary declarations, and further cooperation that the Parties

agree to. Stip., ¶¶16-17. Goldman Sachs’ performance under the cooperation provisions began

prior to the Stipulation’s execution, and pursuant to the Stipulation, Goldman Sachs is obligated

to provide cooperation until judgment is final against all Defendants. Stip., ¶15. Goldman

Sachs’ cooperation has already proved valuable as Plaintiffs continue to prosecute their claims

against non-settling defendants. For example, in an attorney proffer provided on November 11,

2019, prior to the execution of the Stipulation, Goldman Sachs identified a set of key chat room




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communications that were of interest to Plaintiffs as they are drafting their motion for class

certification. As Goldman Sachs’ document production at this time consists of approximately

71,000 pages, and given that nearly 80% of the 8.9 million pages of documents produced by

Defendants to date were provided just 3.5 weeks before Plaintiffs’ November 19, 2019 class

certification motion deadline, this was extremely valuable information that Goldman Sachs

provided at a critical time. For these key chats, Goldman Sachs also identified, where possible,

the CUSIPs10 of the GSE Bonds that were the subject matter of those chat room communications.

Such identification is a manual and time-intensive exercise because the CUSIP numbers

frequently are not identified in the chats. The limited information about the bonds that are

included in the chats must be compared to bonds that traded around the time period of the chat in

order to link the chat to a particular CUSIP. Accordingly, Goldman Sachs’ identification of

CUSIPs saved Co-Lead Counsel many hours of analysis. The identification of the key chat room

communications and CUSIPs will also be beneficial as Plaintiffs prepare for and complete

deposition discovery by December 23, 2019. Plaintiffs also note that Goldman Sachs’ data

production was among the best of the data productions from Defendants in terms of richness of

fields and usefulness at class certification. See Burke Decl., ¶¶5-9.

       Goldman Sachs’ cooperation will also be a valuable resource to Plaintiffs in pursuing

their claims against the non-settling defendants going forward. As the cooperation obtained to

date has already demonstrated, the cooperation provisions will allow Plaintiffs access to

information and expertise that would take longer to obtain through normal discovery or might

not have been available through normal discovery at all.           See Precision Assocs., Inc. v.


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        A CUSIP is a nine-digit numeric or alphanumeric code that identifies a North American
financial security for the purposes of facilitating clearing and settlement of trades.



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Panalpina World Transp. (Holding) Ltd., No. 08-cv-42, 2013 WL 4525323, at *9 (E.D.N.Y.

Aug. 27, 2013) (“cooperation adds considerable value to the Settlement and must be factored

into an analysis of the overall reasonableness”).

       These two Grinnell adequacy factors thus weigh in favor of preliminary approval.

               Rule 23(e)(2)(D)’s Equitable Treatment Prong Weighs in Favor of
               Preliminary Approval

       “Rule 23(e)(2)(D) finally requires the Court to consider whether ‘the proposal treats class

members equitably relative to each other,’” GSE Bonds III, at 20 (quoting Fed. R. Civ. P.

23(e)(2)(D)), which “could include whether the apportionment of relief among class members

takes appropriate account of differences among their claims, and whether the scope of the release

may affect class members in different ways that bear on the apportionment of relief.” 2018

Advisory Note.     As the Court previously held, “[u]nder the proposed plan of distribution,

claimants will be treated equitably by receiving a pro rata share of the recovery based on the

estimated price impact of defendants’ conduct on their GSE bond transactions.” GSE Bonds III,

at 20. Further, all claimants will sign the same release, and this release does not affect the

apportionment of relief among class members. Id.; Payment Card, 330 F.R.D. at 47. This factor

thus weighs in favor of preliminary approval.

               The Remaining Grinnell Factor Regarding the Stage of the Proceedings
               Weighs in Favor of Preliminary Approval

       This Grinnell factor “requires the court to consider the stage of the proceedings and the

amount of discovery completed.” GSE Bonds III, at 21. “The relevant inquiry ‘is whether the

plaintiffs have obtained a sufficient understanding of the case to gauge the strengths and

weaknesses of their claims and the adequacy of the settlement.’” Id.

       As the Court previously found, “[h]ere, plaintiffs’’ counsel is sufficiently well informed.”

Id. Prior to filing the first complaint in this Action on February 22, 2019, Co-Lead Counsel


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undertook an eight-month investigation which included engaging two sets of experts who

analyzed three datasets, interviewing former GSE Bond traders, and reviewing publicly available

information. See id. On May 23, 2019, Plaintiffs filed the First Amended Complaint, which, in

addition to Co-Lead Counsel’s investigation, incorporated certain of the cooperation materials

provided by Deutsche Bank. Co-Lead Counsel participated in numerous proffer sessions

involving Deutsche Bank and analyzed additional cooperation materials provided by Deutsche

Bank, including seven years of the bank’s transaction data. Plaintiffs have also obtained and

analyzed cooperation materials recently provided by FTN and Goldman Sachs. Plaintiffs further

amended their complaint to incorporate additional cooperation materials provided by Deutsche

Bank in the Third Amended Complaint, which was filed on September 10, 2019. Co-Lead

Counsel have also briefed, argued, and substantially prevailed on two motions to dismiss. See id.

         In addition, Co-Lead Counsel have now engaged in four full-day mediation sessions with

Deutsche Bank, FTN, and Goldman Sachs separately. See id. Before each of the mediations,

Plaintiffs submitted to the mediator defendant-specific mediation statements that addressed

potential damages and the strengths and weaknesses of the claims and defenses at issue. During

the mediations, Co-Lead Counsel advocated Plaintiffs’ positions on liability, impact, and

damages and responded to the countervailing views of Deutsche Bank, FTN, and Goldman

Sachs.

         Finally, while this case is less than one-year-old, significant discovery has taken place,

including the substantial completion of data and document productions. The close of all fact

discovery is approaching in just over a month on December 23, 2019. The discovery produced

to Plaintiffs to date has further allowed Co-Lead Counsel to gauge the strengths and weaknesses

of the claims and defenses and the adequacy of the Goldman Sachs Settlement. See id. at 22.




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        This factor thus weighs in favor of preliminary approval. Id.11

        In conclusion, the Court is likely to grant final approval of the Goldman Sachs

Settlement.

II.     THE COURT IS LIKELY TO CERTIFY THE SETTLEMENT CLASS

        “In order to preliminarily approve the settlement . . . the court must also find that it will

likely be able to certify the class for purposes of judgment on the proposal.” GSE Bonds III, at

22. A settlement class may be certified where the proposed class “meets the requirements of

Rule 23(a) class certification, as well as one of the three subsections of Rule 23(b).” Id. at 23.

Because the Settlement Class proposed in the Goldman Sachs Stipulation is substantially similar

to the settlement class that the Court previously found it would likely be able to certify, id., the

Court will likely be able to certify the Settlement Class.

        There are two differences to note regarding exclusions from the Goldman Sachs

Settlement Class.    These two differences, however, do not impact the certification criteria

discussed in GSE Bonds III, at 23-29. First, the Goldman Sachs Settlement Class includes a

minor difference in the exclusion relating to the United States and federal government entities. It

excludes the United States and clarifies in the definition of the “Settling Plaintiff Parties” that, to

the extent that federal government entities are Settlement Class Members, such entities would be

releasing their claims, including any claims of Employee Benefit Plans sponsored by such

entities.   Stip., ¶¶1(rr), 1(xx). Second, the Goldman Sachs Settlement Class provides that

“Investment Vehicles shall not be excluded” from the Settlement Class. Stip., ¶1(rr). An

Investment Vehicle is a company, Employee Benefit Plan, or investment fund in which a

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        “The Court need not consider Grinnell factor #2, which requires the Court to evaluate the
reaction of the settlement class, because consideration of this factor is generally premature at the
preliminary approval stage.” GSE Bonds III, at 20-21 n.1.



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Defendant has a non-majority interest or to which a Defendant, or an affiliate of a Defendant,

acts as an investment advisor, such as a mutual fund, exchange-traded fund, fund of funds, or

hedge fund. Stip., ¶1(v). Several of the Defendants, including Goldman Sachs, have asset

management and advisory businesses, and this provision would allow investors in such entities,

which are not alleged to have been involved in the conduct, to be Settlement Class Members and

eligible to participate in the Settlement.12

        Finally, relating to the Rule 23(b)(3)(A-B)’s superiority requirements regarding litigation

by class members in separate actions, Plaintiffs are aware of two actions, making virtually

identical allegations and raising substantially the same claims against an overlapping set of

defendants, brought by potential Settlement Class Members pending outside this District. State

of Louisiana v. Bank of America, N.A., No. 3:19-cv-00638 (M.D. La. Sept 23, 2019) (“Louisiana

Action”); City of Baton Rouge/East Baton Rouge Parish v. Bank of America, N.A., Docket No.

3:19-cv-00725 (M.D. La. Oct 21, 2019) (“Baton Rouge Action”). These actions were filed by an

overlapping set of lawyers on behalf of a total of four plaintiffs (State of Louisiana, Parish

Employees Retirement System, City of Baton Rouge/East Baton Rouge Parish, and Police

Guaranty Fund), but they are not class actions.

        In the Louisiana Action, the Court entered an order approving a stipulation pursuant to

which the plaintiff voluntarily dismissed Deutsche Bank and FTN with prejudice in exchange for


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        Settlement classes with a similar provision have been certified in numerous cases in this
District. In re Foreign Exch. Benchmark Rates Antitrust Litig., No. 1:13-cv-07789-LGS, ECF
No. 1099, at 5 (S.D.N.Y. Aug. 6, 2018); Alaska Elec. Pension Fund v. Bank of Am., N.A., No.
14-cv-7126-JMP, ECF No. 738, at 2 (S.D.N.Y. Nov. 13, 2018); Laydon v. Mizuho Bank, No. 12-
cv-3419-GBD, ECF No. 796, ¶5 (S.D.N.Y. Sept. 14, 2017) and ECF No. 838 (S.D.N.Y. Dec. 7,
2017); In re: Credit Default Swaps Antitrust Litg., No. 1:13-md-02476, ECF No. 539, ¶4
(S.D.N.Y. Apr. 18, 2016).




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the provision of cooperation materials provided to Plaintiffs here and the plaintiffs’ agreement

not to object or opt out of the Deutsche Bank and FTN settlements, thus, indicating that the

plaintiff intends to participate in those settlements as a Settlement Class Member. ECF Nos. 6,

9. The Louisiana Action is otherwise at an early stage. Three of the 18 defendants answered the

complaint. ECF Nos. 10-12 (Nov. 12, 2019). Two defendants filed motions to dismiss. ECF

Nos. 17, 19 (Nov. 13, 2019). An initial scheduling conference has been set for January 9, 2020

in the Baton Rouge Action. ECF No. 4 (Nov. 6, 2019).

        Because these actions involve just four of tens of thousands of Settlement Class

Members, which have the right to opt out under the Goldman Sachs Settlement, and are at an

early procedural stage, they do not disturb the Court’s finding of superiority. In re Lehman Bros.

Sec. and ERISA Litig., No. 09 MD 2017, 2013 WL 440622, at *5 (S.D.N.Y. Jan. 23, 2013)

(finding superiority although 4% of the proposed class had sought relief individually because

“‘existence of large individual claims that are sufficient for individual suits is no bar to a class

when the advantages of unitary adjudication exist to determine the defendant's liability’” and as

“[f]ewer than one in twenty class members have sought to maintain separate actions – the other

nineteen out of twenty are entitled to the benefits of class treatment”); In re Community Bank of

N. Va., 418 F.3d 277, 309 (3d Cir. 2005) (finding superiority requirement met in a settlement

class action involving illegal lending scheme when there was little other litigation, and class

members interested in pursuing it could opt out).13

        Accordingly, for the reasons stated in the Court’s prior order, the Settlement Class is

likely to be certified.


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       Co-Lead Counsel will ensure that counsel in the Louisiana Action and Baton Rouge
Action receive notice of all settlements.



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III.     THE PROPOSED NOTICE PLAN SATISFIES THE REQUIREMENTS OF
         RULE 23

         Plaintiffs propose the same notice plan and substantially similar forms of notice,

conformed to the Goldman Sachs Settlement, as the Court approved with respect to the Deutsche

Bank and FTN settlements. The notice plan is set out in detail at Exhibit 3 to the accompanying

Burke Declaration, and the proposed forms of notice, that is, the Mail Notice, Claim Form, and

Publication Notice, are attached to the Goldman Sachs Stipulation as Exhibits A1, A2, and A3,

respectively. As the Court previously found, the proposed notice plan satisfies “the requirement

of reasonableness” and constitutes the “best notice practicable under the circumstances.” GSE

Bonds III, at 29, 31.

                                         CONCLUSION

         Plaintiffs respectfully request that the Court enter the accompanying order preliminarily

approving the Goldman Sachs Settlement and authorizing notice to be provided to the Settlement

Class.

Dated: November 14, 2019

s/ Christopher M. Burke                          VINCENT BRIGANTI
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                                CERTIFICATE OF SERVICE

       I hereby certify that on November 14, 2019, I caused the foregoing to be electronically

filed with the Clerk of the Court using the CM/ECF system, which will send notification of such

filing to the email addresses denoted on the Electronic Mail Notice List.


                                             s/ Christopher M. Burke
                                             Christopher M. Burke




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